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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: ) Chapter 11
)

W.R. GRACE & CO., et al., ) Case No. 01-01139 KF)
)

Debtors. ) (Jointly Administered)

)

) Hearing Date: February 28, 2005 at 12:00 p.m, ET
) Objections due: February 11, 2005 at 4:00 p.m. ET

NOTICE OF MOTION

TO: All parties required to receive notice pursuant to Del. L.R. 2002-1.

PacifiCorp and the VanCott Bagley Cornwall & McCarthy 401(k) Plan (collectively, the
“Movants”) have filed the attached PacifiCorp and the VanCott Bagley Cornwall &
McCarthy 401(K) Profit Sharing Plan’s Motion for Leave to File Late Proofs of Claim
pursuant to 11 U.S.C. § 105(a) and Rule 9006(b)(1) of the Federal Rules of Bankruptcy
Procedure (the “Motion’’).

Objections, if any, to the relief requested in the Motion must be filed with the United
States Bankruptcy Court for the District of Delaware, 824 N. Market Street, 3rd Floor,
Wilmington, Delaware 19801, on or before February 11, 2005 at 4:00 p.m. (ET).

At the same time, you must also serve a copy of the objection upon the undersigned
counsel so as to be received no later than 4:00 p.m. (ET) on February 11, 2005.

A HEARING, IF NECESSARY, ON THE MOTION WILL BE HELD BEFORE THE
HONORABLE JUDITH K. FITZGERALD, UNITED STATES BANKRUPTCY COURT
JUDGE, IN THE UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF
DELAWARE, 824 N. MARKET STREET, 6TH FLOOR, WILMINGTON, DELAWARE
19801, ON FEBRUARY 28, 2005 AT 12:00 P.M. (ET).

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IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE COURT
MAY GRANT THE RELIEF DEMANDED BY THE MOTION WITHOUT FURTHER
NOTICE OR HEARING.

Dated: January 14, 2005

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